      Case: 1:19-cv-02207 Document #: 1 Filed: 04/01/19 Page 1 of 6 PageID #:1
          [lf you need additional space for ANY section, please attach an additional sheet and
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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                                                                                          RECE,VED
                                                                                                              APR 0
                                                                                                              t zwsil^
                                                                                                    c..R'{SKBErffglgUr*,



(Enter above the fullname
of the plaintiff or plaintiffs in
                                                                     1:19-cv42207
this action)
                                                                     l r'dGffiffi rcn
                                                                                      531,
                                                                                      sunil """'i,Til',
                                                                                             R' Harlant
                            vs.                            caser     ffi;die.iilG'
                                                                            u! ruc ulerk of this a-ourt)
                                                                   L        ..---*




                                                         V56*chrrytt                                       boaee

(Enteribove the full name df ALL
                                                     ffio t il Lf8s4-cV,oyorl-(tbSa
defendants in this action. Do not




"y
use "et al.")

                E ONLY:

                  COMPLAINT UNDER THE CIVL RIGHTS ACT, TITLE 42 SECTION 1983
                  U.S. Code (state, county, or municipal defendants)

                  COMPLAINT UNDERTHE CONSTITUTION ("BMNS'i ACTIOT9, TITLE
                  28 SECTION 1331 U.S. Code (federal defendants)

                   OTHER (cite statute, if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.




                                                                                                reference that section.]
           [lf you need additional space for ANY section, please attach an additional sheet and
       Case: 1:19-cv-02207 Document #: 1 Filed: 04/01/19 Page 2 of 6 PageID #:2
                                                                                              reference that section']
         [lf you need additional space for ANY section, please attach an additional sheet and




IIr.    List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
        court in the United States:

        A.         Name of case and



        B.         Approximate date of filing lawsuit:

        C.         List all plaintiffs (if you had co-plaintiffs), including any aliases,                        N/dE          t




        D.         List all defendants:




        E.          Court in which the lawsuitwas filed if federal court, name the district; if state court,
                                                        'n f) /72 I
                    name the county):

        F.          Name ofjudge to whom case was                  assigned: [./k

        G.          Basic claim      rnuAr, /V N


        H.          Disposition of this case (for example: Wut_lhgJqse dismi                                  Was it appealed?
                    Is it still pending?):




                    Approximate date of           dispositi"", /V&

IF YOU HA\TE FILED MORE THAII ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON AI\OTHER PIECE OF PAPE& USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO'
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.



                                                                                                                        Revised 9/2007




                                                                                        sheet and reference that section.]
             [lf you need additional space for ANY section, please attach an additional
      Case: 1:19-cv-02207 Document #: 1 Filed: 04/01/19 Page 3 of 6 PageID #:3
                                                                                                       that section.]
        [lf you need additional space for ANY section, please attach an additional sheet and reference




L      Plaintiff(s):

       A.         Name:

       B.         List all aliases:

       C.         Prisoner identification number:

       D.         Place of present confinement:

       E.         Address:

       (If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
       number, place of confinement, and current address according to the above format on a
       separate sheet of paPer.)

II.    Defendant(s):
       (In A below, place the full name of the first defendant in the first blank, his or her official
       position in the second blank, and his or her place of employment in the third blank. Space
       for two additional defendants is provided in B and C.)

       A.          Defendant:

                   Title:

                   Place of Employment:

       B.          Defendant:

                   Title:

                   Place of Employment:

       C.          Defendant:

                   Title:

                   Place of Employment:

       (If you have more than three defendants, then all additional defendants must be listed
       according to the above format on a separate sheet of paper.)




                                                                                                                       Revised 9/2007




                                                                                                 reference that section.]
            [lf you need additional space for ANY section, please attach an additional sheet and
      Case: 1:19-cv-02207 Document #: 1 Filed: 04/01/19 Page 4 of 6 PageID #:4
        [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]




Iv.    Statement of Claim:

       State here as    briefly as possible the facts of your case. Describe how each defendant is
       involved, including names, dates, and places. Do not give any legal arguments or cite any
       cases or statutes. If you intend to allege a number of related claims, number and set forth
       each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
       if necessary.)

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Case: 1:19-cv-02207 Document #: 1 Filed: 04/01/19 Page 5 of 6 PageID #:5
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                                                                                                       section.]
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Case: 1:19-cv-02207 Document #: 1 Filed: 04/01/19 Page 6 of 6 PageID #:6
                                                                                       reference that section.]
  [lf you need additional space for ANY section, please attach an additional sheet and




 Relief:

 State briefly exactly what you want the court to do for                  you. Make no legal arguments. Cite
 no cases or statutes.




 The plaintiff demands that the case be tried by



                                                                 CERTIFICATION

                               By signing this Complaint, I certit/ that the facts stated in this
                               Complaint are true to the best of my knowledge, information and
                               belief. I understand that if this certification is not correct, I may be
                               subject to sanctions by the Court.

                               Signed     tn*WWa^yor                      W\            ,20 tq



                                           re of plainti      or plainti


                               (Print name)


                               (I.D. Number)




                                                        5                                                     nevised 9/2007
   [lf you need additional space for ANY section, please attach an additional sheet and reference that
                                                                                                       section.]
